UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                          11/22/21
  United States of America,

                    –v–
                                                                               20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                                      ORDER
                             Defendant.


ALISON J. NATHAN, District Judge:

       The Court is in receipt of the Government’s, Administrator Feldman’s, and two

anticipated witnesses’ motions to quash the Defendant’s Rule 17(c)(3) subpoena. Dkt. No. 486.

The motions to quash are DENIED. 1

       The Court hereby ORDERS the Administrator of the Epstein Victims’ Compensation

Program to produce to the Court via electronic thumb drive any materials responsive to the

subpoena as soon as possible, but no later than 12:00 p.m. on November 24, 2021.

       Upon receipt, the Court will determine whether the parties may “inspect all or part” of the

materials. Fed. R. Crim. P. 17(c)(1). In that event, the Court may determine that an appropriate

protective order is necessary for the parties’ review of some or all of the materials. Review

under a protective order may better facilitate the review process of the narrow, specific, and

targeted materials and may better ensure no trial delay, as compared to a review process solely

by the Court. Accordingly, the parties shall negotiate a protective order and submit the proposal

for approval by the Court no later than 12:00 p.m. on November 24, 2021.

       SO ORDERED.



       1
           Administrator Feldman’s request for oral argument is accordingly denied.

                                                             1
Dated: November 22, 2021
       New York, New York   ____________________________________
                                      ALISON J. NATHAN
                                    United States District Judge




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